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         Counsel Listed on Next Page]
    12
                                  UNITED STATES DISTRICT COURT
    13
                               CENTRAL DISTRICT OF CALIFORNIA
    14

    15
         ADRIANN GEORGES,
    16
                     Plaintiff,                   Case No. 2:06-cv-05207-SJO-VBK
    17
         vs.
    18                                            JOINT STIPULATION OF
       NOVARTIS PHARMACEUTICALS                   DISMISSAL WITH PREJUDICE
    19 CORPORATION,

    20         Defendant.
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                             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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    23         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
    24 Plaintiff and Defendant, by and through their respective counsel of record, stipulate

    25 that this lawsuit hereby is voluntarily dismissed with prejudice as to all claims, with

    26 each party to bear her/its own costs and fees associated with this lawsuit.

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                             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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     1 Date: April 20, 2015                            Respectfully submitted,
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     3
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                              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
